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                        Exhibit D
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                                     EXHIBIT D
                  Summary of Disputed Terms
Group                     Disputed Term                  Patent No.                    Claims
                                                         10,174,870                    1, 5, 11
                  secured to                             10,890,278                    1, 5, 11
                                                         11,608,915                    1, 4, 10
                                                         10,174,870                       1
Group A           to couple                              10,890,278                       1
                                                         11,608,915                       1
                                                         10,174,870                       1
                  coupled to                             10,890,278                       1
                                                         11,608,915                       1
                  said inner and outer tubes
                  unsecured between said first
                  and second ends so that said
                  outer tube is not held in
                                                         10,174,870                       1
                  frictional contact with said
                  inner tube so that said outer
                  tube can move freely along said
                  inner tube
Group B           said inner tube is unsecured to
                  said outer tube between said
                  first and second ends so that          10,890,278                       1
                  said outer tube can move freely
                  over said inner tube
                  said flexible inner tube
                  unsecured to said flexible outer
                                                         11,608,915                       1
                  tube between said first and
                  second ends so that said

                                                     1
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Group                       Disputed Term                  Patent No.                  Claims
                  flexible outer tube can move
                  freely over said flexible inner
                  tube
                  a first restrictor sleeve secured
                  to said first end of said inner          10,174,870                    5
                  and said outer tubes
                  a first restrictor sleeve secured
                  to said first end of said inner          10,890,278                    5
                  and said outer tubes
                  a first restrictor sleeve secured
                  to said first end of said flexible
                                                           11,608,915                    4
                  inner tube and said flexible
                  outer tube
Group C
                  a second restrictor sleeve
                  secured to said second end of            10,174,870                    5
                  said inner and said outer tubes
                  a second restrictor sleeve
                  secured to said second end of            10,890,278                    5
                  said inner and said outer tubes
                  a second restrictor sleeve
                  secured to said second end of
                                                           11,608,915                    4
                  said flexible inner tube and said
                  flexible outer tube
                  a first securing device securing
                  said first restrictor sleeve, said
                                                           10,174,870                    7
                  outer tube, and said inner tube
                  to said first coupler
Group D
                  a first securing device securing
                  said first restrictor sleeve, said
                                                           10,890,278                    7
                  outer tube, and said inner tube
                  to said first coupler


                                                       2
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Group                     Disputed Term                  Patent No.                  Claims
                a first securing device securing
                said first restrictor sleeve, said
                flexible outer tube, and said            11,608,915                    6
                flexible inner tube to said first
                coupler
                a second securing device
                securing said another expansion
                restrictor sleeve, said outer            10,174,870                    7
                tube, and said inner tube to said
                second coupler
                a second securing device
                securing said another expansion
                restrictor sleeve, said outer            10,890,278                    7
                tube, and said inner tube to said
                second coupler
                a second securing device
                securing said second expansion
                restrictor sleeve, said flexible
                                                         11,608,915                    6
                outer tube, and said flexible
                inner tube to said second
                coupler




                                                     3
